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                                                              FILED: June 24, 2009


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

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                                     No. 07-4059 (L)
                                   (8:04-cr-00235-RWT)
                                   ___________________


        UNITED STATES OF AMERICA,

                               Plaintiff - Appellee

        v.

        LEARLEY REED GOODWIN, a/k/a Goodie, a/k/a Lonnie Ross,

                               Defendant - Appellant



                                   ___________________

                                        O R D E R
                                   ___________________

             The Court grants the motion to extend filing time and
        extends the briefing schedule as follows:


              Appendix due: September 21, 2009
              Opening Brief due: September 21, 2009
              Response Brief due: October 16, 2009

        Reply brief permitted within 10 days of service of Response
        Brief.
                                      For the Court--By Direction

                                           /s/ Patricia S. Connor, Clerk
